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                          Charter Communications, Inc.
                 13
                 14
                                                     UNITED STATES DISTRICT COURT
                 15
                                                   EASTERN DISTRICT OF CALIFORNIA
                 16
                 17
                          Lionel Harper, individually and on        Case No. 2:19-at-00392
                 18       behalf of all others similarly and all
                          aggrieved employees,                      [Shasta County Superior Court, Case
                 19                                                  No. 192423]
                                                  Plaintiff,
                 20                                                  DEFENDANTS CHARTER
                                            vs.                      COMMUNICATIONS, LLC AND
                 21                                                  CHARTER COMMUNICATIONS,
                          Charter Communications, LLC,               INC.’S NOTICE OF REMOVAL
                 22       Charter Communications, Inc., and          TO THE UNITED STATES
                          Does 1 through 25,                         DISTRICT COURT FOR THE
                 23                                                  EASTERN DISTRICT OF
                                                  Defendants.        CALIFORNIA
                 24
                                                                   Diversity Jurisdiction Under The Class
                 25                                                Action Fairness Act [28 U.S.C. §§
                                                                   1332(d), 1441, 1446 and 1453]
                 26
                                                                    Complaint Filed: May 3, 2019 (Shasta
                 27                                                 County Superior Court)
                 28
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  B OCKI US LLP
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       IRVINE                                                                            NOTICE OF REMOVAL
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                     1            TO THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                     2   DISTRICT OF CALIFORNIA, PLAINTIFF, AND HIS COUNSEL OF
                     3   RECORD:
                     4            PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, 1446
                     5   and 1453, Defendants Charter Communications, LLC, and Charter
                     6   Communications, Inc. (together “Defendants”) hereby remove the above-entitled
                     7   action from the Superior Court of the State of California, in and for the County of
                     8   Shasta, to the United States District Court for the Eastern District of California.
                     9   This Court has original subject matter jurisdiction over this action pursuant to the
                    10   Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332(d) and 1453,
                    11   because diversity of citizenship exists and the amount in controversy exceeds
                    12   $5,000,000 for purposes of CAFA.
                    13            More specifically, this removal is based on the following grounds:
                    14   I.       PLEADINGS, PROCESS AND ORDERS
                    15            1.       On May 3, 2019, Plaintiff Lionel Harper (“Plaintiff”) commenced this
                    16   action in the Superior Court of the State of California for the County of Shasta,
                    17   entitled Lionel Harper v. Charter Communications, LLC, et al., Case No. 192423
                    18   (the “Complaint”). Plaintiff’s Complaint alleges ten causes of action against
                    19   Defendants: (1) failure to pay minimum wages for all hours worked in violation of
                    20   California Labor Code §§ 1182.12, 1194, 1197, and 1194.4; (2) failure to pay
                    21   overtime wages for all overtime hours worked in violation of California Labor
                    22   Code §§ 510 and 1197; (3) failure to provide meal periods or pay premium wages
                    23   in lieu thereof in violation of California Labor Code §§ 512 and 226.7; (4) failure to
                    24   provide rest breaks or pay premium wages in lieu thereof in violation of California
                    25   Labor Code § 226.7; (5) unlawful deduction of wages under California Labor Code
                    26   § 221; (6) failure to provide accurate wage statements in violation of California
                    27   Labor Code § 226; (7) failure to pay all wages owed upon termination in violation
                    28   of California Labor Code § 203; (8) failure to provide timely and complete copies
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                     1   of employment records in violation of California Labor Code §§ 226, 432, and
                     2   1198.5; (9) violation of California’s Unfair Competition Law under California
                     3   Business and Professions Code § 17200; and (10) civil penalties under the Private
                     4   Attorney General Act (“PAGA”).
                     5            2.       Plaintiff served Defendants with his Complaint on May 7, 2019 (true
                     6   and correct copies of the Complaint and Proofs of Service are attached hereto as
                     7   Exhibit A.)
                     8            3.       On May 17, 2019, Defendants filed and served their Answer to
                     9   Plaintiff’s Complaint. A true and correct copy of Defendants’ Answer is attached
                    10   as Exhibit B.
                    11            4.       Exhibits A and B constitute all process, pleadings, and orders filed in
                    12   this case.
                    13   II.      THE REMOVAL IS TIMELY
                    14            5.       Without conceding that service of the Summons and Complaint was
                    15   effective, this Notice of Removal is timely pursuant to 28 U.S.C. §1446(b) because
                    16   it is being filed within thirty (30) days of completion of service on Defendants and
                    17   within one (1) years of the commencement of this action. No previous Notice of
                    18   Removal has been filed or made with this Court for the relief sought herein.
                    19   III.     THIS COURT HAS SUBJECT MATTER JURISDICTION
                    20            A.       The Court Has Original Subject Matter Jurisdiction Under CAFA
                    21            6.       Removal under the Class Action Fairness Act(“CAFA”) diversity
                    22   jurisdiction is proper pursuant to 28 U.S.C. §§ 1441, 1446, and 1453 because (i)
                    23   diversity of citizenship exists between Plaintiff and one or more Defendants; (ii) the
                    24   number of proposed class members is 100 or greater; and (iii) the amount placed in
                    25   controversy by Plaintiff’s Complaint exceeds, in the aggregate, $5 million,
                    26   exclusive of interest and costs. 28 U.S.C. §§ 1332 (d)(2), 1453.
                    27            7.       Plaintiff brings this action as a purported class action under Cal. Code
                    28   Civ. Proc. § 382, with the class alleged to be “so numerous that joinder of all class
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                     1   members is impracticable.”1 Compl. ¶ 13. Plaintiff alleges various class claims on
                     2   behalf of an alleged class and two subclasses involving persons who were allegedly
                     3   employed in California by Defendants. Id. at ¶¶ 12, 14. Plaintiff alleges that he
                     4   currently lives in California, and worked in California for Defendants from
                     5   approximately September 2017 until March 2018. Id. at ¶ 5. As demonstrated
                     6   below, Plaintiff’s class claims, when aggregated for all putative class members,
                     7   place into controversy an amount in excess of $5 million. Therefore, removal under
                     8   CAFA diversity jurisdiction is proper pursuant to 28 U.S.C. §§ 1446 and 1453.
                     9            B.       Diversity of Citizenship Exists for Purposes of CAFA.
                    10            8.       In order to satisfy CAFA’s diversity requirement, a party seeking
                    11   removal need only show that minimal diversity exists, that is, that one putative
                    12   class member is a citizen of a state different from that of one defendant. 28 U.S.C.
                    13   § 1332(d)(2); United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied Indus.
                    14   & Serv. Workers Int’l Union, AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1090-
                    15   91 (9th Cir. 2010) (finding that to achieve its purposes, CAFA provides expanded
                    16   original diversity jurisdiction for class actions meeting the minimal diversity
                    17   requirement set forth in 28 U.S.C. § 1332(d)(2)). Plaintiff is a citizen of California
                    18   and Defendants Charter Communications, Inc. and Charter Communications, LLC
                    19   are not citizens of California. Thus, minimal diversity exists and removal is proper.
                    20                     1.    Plaintiff and the Members of the Putative Class Are
                                                 California Citizens.
                    21
                                  9.       “An individual is a citizen of the state in which he is domiciled . . .”
                    22
                         Boon v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing
                    23
                         Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes
                    24
                         of diversity of citizenship jurisdiction, citizenship is determined by the individual’s
                    25
                         domicile at the time that the lawsuit is filed. Armstrong v. Church of Scientology
                    26
                         1
                    27     Defendants do not concede, and reserve the right to contest at the appropriate time, Plaintiff’s
                         allegations that this action can properly proceed as a class action and/or representative action.
                    28   Defendants further do not concede that any of Plaintiff’s allegations constitute a cause of action
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                         under applicable California law.
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                     1   Int’l, 243 F.3d 546, 546 (9th Cir. 2000) (citing Lew v. Moss, 797 F.2d 747, 750 (9th
                     2   Cir. 1986)). Evidence of continuing residence creates a presumption of domicile.
                     3   Washington v. Hovensa LLC, 652 F.3d 340, 345 (3rd Cir. 2011); State Farm Mut.
                     4   Auto. Ins. Co. v. Dyer, 19 F.3d 514, 519 (10th Cir. 1994). Once the removing party
                     5   produces evidence supporting that presumption, the burden shifts to the other party
                     6   to come forward with contrary evidence, if any, in order to dispute domicile. Id.
                     7            10.      At the time Plaintiff commenced this action and at the time of removal,
                     8   Plaintiff was a citizen of the State of California. In fact, Plaintiff alleges in this
                     9   Complaint that he “is a resident of California.” Compl., ¶ 5. State Farm Mut. Auto.
                    10   Ins. Co. v. Dyer, 19 F.3d 514, 519-20 (10th Cir. 1994) (allegation by party in state
                    11   court complaint of residency “created a presumption of continuing residence in
                    12   [state] and put the burden of coming forward with contrary evidence on the party
                    13   seeking to prove otherwise”), citing, Lew v. Moss, 797 F.2d 747, 750 (9th Cir.
                    14   1986). Thus, Plaintiff is now and was, at the time of the filing of the Complaint, a
                    15   citizen of California.
                    16            11.      Members of the putative class are also alleged to be citizens of
                    17   California, because Plaintiff purports to represent a putative class of all non-exempt
                    18   employees who worked for Defendants in California within the four years. Compl.
                    19   ¶ 12.
                    20                     2.    Defendant Charter Communications, Inc. Is Not A Citizen
                                                 of California.
                    21
                                  12.      For diversity purposes, Defendant Charter Communications, Inc. is
                    22
                         diverse from Plaintiff and putative members because it is not a citizen of California.
                    23
                                  13.      Pursuant to 28 U.S.C. § 1332, “a corporation shall be deemed to be a
                    24
                         citizen of every State and foreign state by which it has been incorporated and of the
                    25
                         State or foreign state where it has its principal place of business.” 28 U.S.C. §
                    26
                         1332(c)(1). The “principal place of business” for the purpose of determining
                    27
                         diversity subject matter jurisdiction refers to “the place where a corporation’s
                    28
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                     1   officers direct, control, and coordinate the corporation’s activities…[I]n practice it
                     2   should normally be the place where the corporation maintains its headquarters-
                     3   provided that the headquarters is the actual center of direction, control, and
                     4   coordination, i.e., the ‘nerve center,’ and not simply an office where the corporation
                     5   holds its board meeting[.]” See Hertz Corp. v. Friend, 559 U.S. 77, 92-93, 130 S.
                     6   Ct. 1181, 1192 (2010).
                     7            14.      Charter Communications, Inc. is now, and was at the time Plaintiff
                     8   filed the Complaint, a corporation organized under the laws of the State of
                     9   Delaware, with its principal place of business in Connecticut. Charter
                    10   Communications, Inc.’s corporate decisions generally are made in Connecticut,
                    11   including its operation, executive, administrative, and policymaking decisions. The
                    12   majority of Charter Communications, Inc.’s executive officers principally conduct
                    13   their business from headquarters in Connecticut. Thus, at all times relevant hereto,
                    14   Charter Communications, Inc. has been a citizen of Connecticut, and not a citizen
                    15   of California. 28 U.S.C. § 1332(c)(1).
                    16                     3.    Defendant Charter Communications, LLC Is Not A Citizen
                                                 of California.
                    17
                                  15.      Charter Communications, LLC is a limited liability company which is
                    18
                         treated the same as an unincorporated association for purposes of citizenship. See
                    19
                         Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).
                    20
                         “Notwithstanding LLCs’ corporate traits, however, every circuit that has addressed
                    21
                         the question treats them like partnerships for purposes of diversity jurisdiction.”
                    22
                         See id. citing, Gen. Tech. Applications, Inc. v. Exro Ltda., 388 F.3d 114, 120 (4th
                    23
                         Cir. 2004); GMAC Commercial Credit LLC v. Dillard Dep’t Stores, Inc., 357 F.3d
                    24
                         827, 828-29 (8th Cir. 2004); Rolling Greens MHP, L.P. v. Comcast SCH Holdings
                    25
                         LLC, 374 F.3d 1020, 1022 (11th Cir. 2004); Handelsman v. Bedford Village Assocs.
                    26
                         Ltd P’ship, 213 F.3d 48, 51 (2d Cir. 2000); Cosgrove v. Bartolotta, 150 F.3d 729,
                    27
                         731 (7th Cir. 1998).
                    28
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                     1            16.      Therefore, for purposes of diversity jurisdiction, the corporate
                     2   citizenship rule does not apply to LLCs. See 28 U.S.C. § 1332(c). Instead, the
                     3   Ninth Circuit looks to the citizenship of each of the LLC’s members. See Johnson,
                     4   437 F.3d at 899; see also Carden v. Arkoma Assocs., 494 U.S. 185, 189 (1990).
                     5   Consistent with its sister circuits, the Ninth Circuit has held that, like a partnership,
                     6   an LLC is a citizen of every state of which its owners/members are citizens. See
                     7   Johnson, 437 F.3d at 899.
                     8            17.      Defendant Charter Communications, LLC is a Delaware limited
                     9   liability company with its principal place of business in Missouri. The sole member
                    10   of Defendant Charter Communications, LLC is Charter Communications
                    11   Operating, LLC, which is a Delaware limited liability company with a principal
                    12   place of business in Missouri.
                    13            18.      The sole member of Charter Communications Operating, LLC is CCO
                    14   Holdings, LLC, which is a Delaware limited liability company with its principal
                    15   place of business in Missouri.
                    16            19.      The sole member of CCO Holdings, LLC is Spectrum Management
                    17   Holding Company, LLC, which is a Delaware limited liability company with its
                    18   principal place of business in New York.
                    19            20.      Spectrum Management Holding Company, LLC’s sole member is
                    20   Charter Communications Holdings, LLC, a limited liability company organized in
                    21   Delaware with its principal place of business and headquarters located in New
                    22   York.
                    23            21.      Accordingly, Defendant, Charter Communications, LLC is not now,
                    24   and was not at the time of the filing of the Complaint, a citizen and/or resident of
                    25   the State of California for purposes of determining diversity jurisdiction. 28 U.S.C.
                    26   § 1332(c)(1).
                    27

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                     1                     4.    Doe Defendants
                     2            22.      Although Plaintiff has named 25 fictitiously named “Doe” defendants,
                     3   the citizenship of these “Doe” defendants is disregarded for purposes of removal.
                     4   28 U.S.C. § 1441(a); Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir.
                     5   1998) (for removal purposes, the citizenship of defendants sued under fictitious
                     6   names shall be disregarded); see also Soliman v. Philip Morris, Inc., 311 F.3d 966,
                     7   971 (9th Cir. 2002). Thus, the inclusion of “Doe” defendants in Plaintiff’s
                     8   Complaint has no effect on Defendants’ ability to remove.
                     9            23.      Based on the Complaint, therefore, at least one member of the putative
                    10   class is a citizen of a state different from that of Defendant Charter
                    11   Communications, Inc., as Plaintiff is a citizen of California and Charter
                    12   Communications, Inc. is a citizen of Connecticut. See 28 U.S.C. § 1332(d)(2)(A)
                    13   (requiring only “minimal diversity” under which “any member of a class of
                    14   plaintiffs is a citizen of a State different from any defendant”).
                    15            C.       The Proposed Class Contains At Least 100 Members.
                    16            24.      To qualify for removal under CAFA, a lawsuit must be brought on
                    17   behalf of at least 100 putative class members. 28 U.S.C. §1332(d)(5). Plaintiff
                    18   assert claims on behalf of himself and all nonexempt employees who worked for
                    19   Defendants in California within four years from November 19, 2018. Compl. ¶ 12.
                    20   Plaintiff also alleges a proposed class of “[a]ll salespersons employed by
                    21   Defendants in California during the relevant time period” (the “Proposed
                    22   Salesperson Class”) and two proposed subclasses of“[a]ll salespersons employed by
                    23   Defendants in California during the relevant time period whose employment was
                    24   terminated” (the “Proposed Termination Pay Subclass”), and “[a]ll persons
                    25   employed by Defendants in California during the relevant time period who were
                    26   eligible for commission wages” (the “Proposed Commissions Subclass”). Compl. ¶
                    27   14. A review of Defendants’ records shows that, based on Plaintiff’s definitions, the
                    28   proposed class contains well over 100 current and former employees.
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                     1            D.       The CAFA Amount In Controversy Requirement Is Satisfied.
                     2            25.      A class action may be removed under CAFA if the claims place in
                     3   controversy an aggregated amount that “exceeds the sum or value of $5,000,000,
                     4   exclusive of interests and costs.” See 28 U.S.C. § 1332(d)(6).
                     5            26.      A removing defendant “must file in the federal forum a notice of
                     6   removal ‘containing a short and plain statement of the grounds for removal.’” Dart
                     7   Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 553 (2014) (citation
                     8   omitted). This short and plain statement “need include only a plausible allegation
                     9   that the amount in controversy exceeds the jurisdictional threshold.” Id. at 554
                    10   (emphasis added). “The ultimate inquiry is what amount is put ‘in controversy’ by
                    11   the plaintiff’s complaint, not what a defendant will actually owe.” Korn v. Polo
                    12   Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (citing Rippee v.
                    13   Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005)). This burden “is
                    14   not ‘daunting’”; indeed, courts “recognize that under this standard, a removing
                    15   defendant is not obligated to ‘research, state, and prove the plaintiff’s claims for
                    16   damages.’” Korn, 536 F. Supp. 2d at 1204-05. The defendant needs only “provide
                    17   evidence . . . that it is ‘more likely than not’ that the amount in controversy”
                    18   satisfies the federal diversity jurisdictional amount requirement.” Sanchez v.
                    19   Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996).
                    20            27.      Moreover, the Senate Judiciary Committee’s Report on the final
                    21   version of CAFA makes clear that any doubts regarding the applicability of CAFA
                    22   should be resolved in favor of federal jurisdiction. See Senate Judiciary Report, S.
                    23   REP. 109-14, at 42 (“If a federal court is uncertain about whether ‘all matters in
                    24   controversy’ in a purported class action do not in the aggregate exceed the sum or
                    25   value of $5,000,000, the court should err in favor of exercising jurisdiction over the
                    26   case.”); id. at 43 (“Overall, new section 1332(d) is intended to expand substantially
                    27   federal court jurisdiction over class actions. Its provisions should be read broadly,
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                     1    with a strong preference that interstate class actions should be heard in a federal
                     2    court if properly removed by any defendant.”).
                     3             28.      In assessing the amount in controversy, a court must “assume that the
                     4    allegations of the complaint are true and assume that a jury will return a verdict for
                     5    the plaintiff on all claims made in the complaint.” Campbell v. Vitran Exp., Inc.,
                     6    471 F. App’x 646, 648 (9th Cir. 2012) (citing Kenneth Rothschild Trust v. Morgan
                     7    Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002)).
                     8             29.      While Defendants deny Plaintiff’s factual allegations and deny that he
                     9    or any putative class members is entitled to any of the relief, aggregating the
                    10    maximum potential value of their claims places into controversy an amount
                    11    exceeding $5,000,000.2 Rhoades v. Progressive Casualty Ins., Co., 410 Fed.
                    12    App’x. 10, 11 (9th Cir. 2010) (“‘[O]nce the proponent of federal jurisdiction has
                    13    explained plausibly how the stakes exceed $5 million, . . . then the case belongs in
                    14    federal court unless it is legally impossible for the plaintiff to recover that much.’”
                    15    (quoting Lewis v. Verizon Commc’ns Inc., No. 10-56512, 2010 WL 4645465, *4
                    16    (9th Cir. 2010) (emphasis added)).
                    17             30.      The fact that a complaint fails to specify the total amount of damages
                    18    in a dollar amount does not deprive this Court of jurisdiction. Banta v. Am. Med.
                    19    Response Inc., No. CV 11-03586 GAF RZX, 2011 WL 2837642, at *1 (C.D. Cal.
                    20    July 15, 2011) (“Case law recognizes that, even where a pleading is indefinite on its
                    21    face, a defendant may possess sufficient information allowing it to ascertain that the
                    22    amount in controversy exceeds the jurisdiction minimum, may remove the action to
                    23

                    24
                          2
                            This Notice of Removal discusses the nature and amount of damages placed at issue by
                    25    Plaintiff’s Complaint. Defendants’ references to specific damage amounts and their citation to
                          comparable cases are provided solely for the purpose of establishing that the amount in
                    26    controversy is more likely than not in excess of the jurisdictional minimum. Defendants maintain
                          that each of Plaintiff’s claims is without merit and that Defendants are not liable to Plaintiff or
                    27    any putative class member. In addition, Defendants deny that liability or damages can be
                          established on a class-wide basis. No statement or reference contained herein shall constitute an
                    28    admission of liability or a suggestion that Plaintiff will or could actually recover any damages
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                          based on the allegations of the Complaint or otherwise.
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                     1    federal court on that basis, and, if challenged, may present evidence to prove up the
                     2    existence of removal jurisdiction.”).
                     3                      5.    Information Relevant to The Amount In Controversy
                     4             31.      Plaintiff’s Complaint seeks to recover damages, penalties, restitution,
                     5    pre-judgment and post-judgment interest, attorneys’ fees and costs, and declaratory
                     6    and injunctive relief, based on California wage and hour claims he asserts in the
                     7    Complaint
                     8             32.      Because Plaintiff alleges that he properly filed his claims in arbitration
                     9    on November 18, 2018 (which Defendants specifically deny), the class period
                    10    sought by Plaintiff for the entire action is from November 18, 2014 through the
                    11    present. From November 18, 2014 through the present, Defendant Charter
                    12    Communications, LLC3 employed approximately 1,083 account executives.4
                    13    Approximately 238 of these individuals have separated from their employment with
                    14    Charter Communications, LLC since November 18, 2013 (the three year period
                    15    preceding filing of the Complaint, per the applicable statute of limitations for
                    16    waiting time penalty claims under Labor Code § 203). Id.
                    17             33.      Between November 18, 2014 and the present, the 1,083 account
                    18    executive putative class members were employed a total of approximately 99,660
                    19    workweeks.5 While Plaintiff was employed as an exempt employee, for purposes
                    20    of this petition only and without conceding he was nonexempt. Defendants have
                    21    calculated the amount in controversy based on the computed average hourly rate of
                    22    account executives during new class period. The average hourly wage for the 1,083
                    23    account executive putative class members during this period was approximately
                    24
                          3
                            Plaintiff was employed by Defendants Charter Communications, LLC. Defendants maintain
                    25    that Charter Communications, Inc. is therefore not a proper Defendant in this action.
                          4
                            Although Plaintiff alleges a putative class of all nonexempt current and former employees of
                    26    Defendants in California, for purposes of this removal, Defendants limit the amount in
                          controversy analysis to putative class members with the same job title as Plaintiff, i.e., “account
                    27    executive.”
                          5
                            While Plaintiff was employed as an exempt employee, for purposes of this petition only and
                    28    without conceding he was nonexempt. Defendants have calculated the amount in controversy
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                          based on the computed average hourly rate of account executives during new class period.
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                     1    $24.02. Defendants pay wages to California account executives on a bi-weekly
                     2    basis, for a total of 26 pay periods per year.
                     3                      6.    Plaintiff’s Wage Statement Claim Puts Into Controversy
                                                  More Than $1,700,000 Million.
                     4
                                   34.      In his Sixth Cause of Action, Plaintiff alleges Defendants failed to
                     5
                          provide accurate wage statements that reflected total hours worked, all deductions,
                     6
                          and all gross and next wages earned, including minimum, overtime, and
                     7
                          commission wages. Ex. A, Compl., ¶ 51. Plaintiff further alleges that he and the
                     8
                          class he purports to represent are entitled to recover the greater of his actual
                     9
                          damages or statutory penalties, costs, and reasonable attorneys’ fees Id. ¶ 53.
                    10
                                   35.      Labor Code section 226(e) provides that an employee is entitled to
                    11
                          recover the greater of all actual damages or $50 for the initial violation and $100 for
                    12
                          each subsequent violation, up to a maximum of $4,000, plus costs and reasonable
                    13
                          attorneys’ fees, if an employer knowingly and intentionally fails to provide an
                    14
                          accurate, itemized wage statement. Cal. Labor Code § 226(e). Such an award may
                    15
                          be granted for each wage statement issued that fails to comply with section 226’s
                    16
                          requirements. Thus, according to Plaintiff’s theory, he would be entitled to no less
                    17
                          than $50 for the first violation, plus $100 for each subsequent violation, for every
                    18
                          pay period during the class period where he allegedly did not receive an accurate
                    19
                          statement of wages, subject to a maximum award of $4,000. This maximum award
                    20
                          of $4,000 would be reached if he (or employees similarly situated) received 41 or
                    21
                          more allegedly inaccurate wage statements ($50 first alleged violation + 40 alleged
                    22
                          subsequent violations x $100 = $4,050, in excess of the statutory maximum); or, in
                    23
                          other words, was employed for at least 41 pay periods. In addition, under
                    24
                          Plaintiff’s wage statement claim, each member of the putative class that he purports
                    25
                          to represent would also be entitled to such an award, up to a maximum award of
                    26
                          $4,000 for each putative class member.
                    27
                                   36.      There is a one-year statute of limitations on this claim. See Cal. Code
                    28
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                     1    Civ. Proc. §340(a); Martinez v. Morgan Stanley & Co. Inc., 2010 WL 3123175, *6
                     2    (S.D. Cal. August 9, 2010). Thus, the statute of limitation on Plaintiff’s statutory
                     3    penalty claim for inaccurate wage statements under § 226(e) commences on
                     4    November 18, 2017. Between November 18, 2017 and May 17, 2019 for the
                     5    account executive putative class members, there are 682 initial pay periods at $50
                     6    each for a total of $34,100 ($50 x 682 initial pay periods) and 17,106 subsequent
                     7    pay periods at $100 each, for a total of $1,710,600 ($100 x 17,106). In total, these
                     8    numbers yield $1,744,700 at issue on Plaintiff’s wage statement claim.
                     9                      7.    Plaintiff’s Waiting Time Penalties Claim Puts into
                                                  Controversy Over $1,300,000.
                    10
                                   37.      Plaintiff’s Seventh Cause of Action for waiting time penalties alleges
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                          that Defendants failed to pay Plaintiff and other employees who were terminated or
                    12
                          quit all due but unpaid wages. Ex. A, Compl. ¶ 56. He seeks waiting time penalties
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                          for up to 30 days. Id. ¶ 55, 57.
                    14
                                   38.      Of the 1,083 account executive putative class members, 238 are former
                    15
                          employees. The amount of waiting time penalties at issue per former employee per
                    16
                          day on average, is $192.08 ($24.01 x 8 hours). For purposes of calculating Labor
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                          Code Section 203 penalties, therefore, the amount at issue for each former
                    18
                          employee on average is $5,762.40 ($192.08 x 30 days). Accordingly, Plaintiff’s
                    19
                          claim for waiting time penalties on behalf of all former account executive putative
                    20
                          class members under California Labor Code Sections 201, 202 and 203 places at
                    21
                          issue approximately $1,371,451.20 (238 formerly employed account executive
                    22
                          putative class members x $5,762.40).
                    23
                                            8.    Plaintiff’s Meal Period Claim Puts Into Controversy More
                    24                            Than $2,200,000.
                    25             39.      Plaintiff’s Third Cause of Action alleges that Defendants failed to
                    26    provide putative class members with meal breaks in violation of California law.
                    27    Ex. A, Compl. ¶34. More specifically, he alleges that Defendants “failed to provide
                    28    timely, off-duty, uninterrupted 30-minute meal periods…” Ex. A, Compl. ¶ 34. He
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                     1    also alleges that Defendants “did not allow Plaintiff and other nonexempt
                     2    employees to clock-out and clock-in for each meal period and accurately record the
                     3    existence and length of each meal period taken…” Id. ¶ 34. Further, Plaintiff
                     4    alleges that Defendants never paid Plaintiff any premium wages for meal periods
                     5    that were untimely or that were missed, shortened, interrupted, or on-duty. ¶ 35
                     6             40.      Under California law, employers must “provide” their employees with
                     7    a 30-minute, uninterrupted meal period after five hours of work. Cal. Lab. Code §
                     8    512(a); Brinker v. Superior Court, 53 Cal. 4th 1004, 1040 (2012). In addition,
                     9    employers must “authorize and permit” employees to take a 10-minute,
                    10    uninterrupted rest period for every four hours worked or major fraction thereof.
                    11    Brinker, 53 Cal. 4th at 1028-29. If an employer fails to provide such breaks (as is
                    12    alleged in Plaintiff’s Complaint), then the employer must pay the employee a
                    13    premium wage equal to one hour of pay for each missed break. Brinker, 53 Cal. 4th
                    14    at 1018; Cal. Lab. Code § 226.7(c). The one hour of premium pay is paid at the
                    15    employee’s regular hourly rate. Murphy v. Kenneth Cole Prods., 40 Cal. 4th 1094
                    16    (2007).
                    17             41.      If, as Plaintiff contends, putative class members were not provided
                    18    with meal breaks, they would be entitled to one hour of premium pay for each
                    19    missed meal period per day at the employee’s regular hourly rate. Murphy v.
                    20    Kenneth Cole Productions, 40 Cal. 4th 1094 (2007). Thus, taking as true Plaintiff’s
                    21    claim that Defendants did not provide meal breaks (as Plaintiff’s Third Cause of
                    22    Action alleges), account executive putative class members would be eligible for one
                    23    hour of premium pay for each day worked. See Muniz v. Pilot Travel Centers LLC,
                    24    No. CIV.S-07-0325 FCD EFB, 2007 WL 1302504 (E.D. Cal. May 1, 2007) (where
                    25    plaintiff does not allege facts specific to the circumstances of allegedly missed meal
                    26    and/or rest periods, defendant may use 100% violation rate in calculating the
                    27    amount in controversy).
                    28             42.      Although Defendants would be entitled for purposes of this Petition to
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                     1    estimate that putative class members missed a meal five times per week, here
                     2    Defendants’ estimate is based on just one claimed missed meal period per week,
                     3    and just for the account executive employees.
                     4             43.      Using 48 actual workweeks in a 52-week year (to account for
                     5    vacations, holidays, and days off) has been found to be a “good faith” estimate of
                     6    the actual number of days employees worked when calculating the amount in
                     7    controversy under CAFA. See Behrazfar v. Unisys Corp., 687 F. Supp. 2d 999,
                     8    1004 (C.D. Cal. 2009). Consequently, using a conservative estimate of only one
                     9    hour of meal period premium pay per week (i.e., one unprovided meal period),
                    10    based on 48 work weeks per year, the amount in controversy is approximately
                    11    $2,209,696 (99,660 total work weeks x 48/52 x 1 hour of premium pay per week x
                    12    $24.02 average hourly rate).
                    13                      9.    Plaintiff’s Rest Period Claim Puts Into Controversy More
                                                  Than $2,200,000.
                    14
                                   44.      Plaintiff’s Fourth Cause of Action alleges that Defendants failed to
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                          provide putative class members with rest breaks in violation of California law. Ex.
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                          A, Compl., ¶¶ 38-41. Plaintiff alleges Defendants failed to provide timely, off-
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                          duty, uninterrupted 10-minute rest periods to Plaintiff and others. Id. at ¶ 39.
                    18
                          Plaintiff also alleges that Defendants failed to compensate Plaintiff and others one
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                          additional hour of pay for each day a compliant rest period was not provided. Id.
                    20
                                   45.      If, as Plaintiff contends, putative class members were not provided
                    21
                          with rest breaks, they would be entitled to one hour of premium pay for each
                    22
                          missed rest break per day at the employee’s regular hourly rate. Murphy v. Kenneth
                    23
                          Cole Productions, 40 Cal. 4th 1094 (2007); United Parcel Service Wage and House
                    24
                          Cases v. Superior Court, 196 Cal. App 4th 57, 65-59 (2011). Thus, taking as true
                    25
                          Plaintiff’s claim that Defendants did not provide rest breaks (as Plaintiff’s Fourth
                    26
                          Cause of Action alleges), putative class members would be eligible for one hour of
                    27
                          premium pay for each day worked. See Muniz v. Pilot Travel Centers LLC, No.
                    28
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                     1    CIV.S-07-0325 FCD EFB, 2007 WL 1302504 (E.D. Cal. May 1, 2007) (where
                     2    plaintiff does not allege facts specific to the circumstances of allegedly missed meal
                     3    and/or rest periods, defendant may use 100% violation rate in calculating the
                     4    amount in controversy).
                     5             46.      For purposes of this calculation, Defendants’ estimate is based on just
                     6    one claimed rest period penalty per week for account executive putative class
                     7    members. Consequently, using a conservative estimate of only one hour of rest
                     8    period premium pay per week (i.e., one not permitted rest period), based on 48
                     9    work weeks per year, the amount in controversy is approximately $2,209,696
                    10    (99,660 total work weeks x 48/52 x 1 hour of premium pay per week x $24.02
                    11    average hourly rate).
                    12                      10.   The Complaint Also Seeks Recovery of Attorneys’ Fees.
                    13             47.      The Complaint also seeks attorneys’ fees. Ex. A, Compl. (Prayer for
                    14    Relief) ¶ J. Attorneys’ fees are properly included in determining the amount in
                    15    controversy. Guglielmino v. McKee Foods Corp., 506 F.3d 696, 698 (9th Cir.
                    16    2007); Sanchez v. Wal-Mart Stores, Inc., No. Civ. S-06-cv-2573 DFL KJM, 2007
                    17    WL 1345706, *2 (E.D. Cal. May 8, 2007) (“Attorney’s fees, if authorized by statute
                    18    or contract, are also part of the calculation”). Plaintiff’s attorneys’ fees are not
                    19    limited to the amount incurred as of the time of removal. In Simmons v. PCR Tech.,
                    20    209 F. Supp. 2d 1029 (N.D. Cal. 2002), for example, the court held that
                    21    “[attorneys’ fees] necessarily accrue until the action is resolved” and, thus, the
                    22    Ninth Circuit [in Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir.
                    23    1998)] must have anticipated that district courts would project fees beyond
                    24    removal.” 209 F. Supp. 2d at 1034-1035. As such, the Simmons court held that the
                    25    “measure of [attorneys’] fees should be the amount that can reasonably be
                    26    anticipated at the time of removal, not merely those already incurred.” 209 F.
                    27    Supp. 2d at 1035.
                    28
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                     1             48.      Although Defendants deny Plaintiff’s claim for attorney’s fees, for
                     2    purposes of removal, the Ninth Circuit uses a benchmark rate of 25% of potential
                     3    damages as the amount of attorney’s fees. In re Quintus Securities Litigation, 148
                     4    F. Supp. 2d 967, 973 (N.D. Cal. 2001) (benchmark for attorneys’ fees is 25% of the
                     5    common fund). Given the $3,116,151 ($1,744,700 wage statement penalties +
                     6    $1,371,451 waiting time penalties) amount in controversy discussed above, an
                     7    award of 25% attorney’s fees would increase the amount in controversy by
                     8    $779,037.75.
                     9                      11.   The Amount in Controversy Is Satisfied for CAFA
                                                  Jurisdiction Purposes.
                    10
                                   49.      Thus, although Defendants deny Plaintiff’s allegations and deny that
                    11
                          he or the class and subclasses that he purports to represent are entitled to the relief
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                          for which he has prayed, based on Plaintiff’s allegations, theories, and prayer for
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                          relief, the amount he has placed in controversy well exceeds the $5 million
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                          threshold set forth under CAFA, based on only a few of the causes of action and for
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                          only the account executive putative class members, which represents a fraction of
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                          the putative class alleged in the Complaint.
                    17
                                   50.      Based on the calculations contained in this Notice of Removal,
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                          Plaintiff has placed into controversy at least $8,314,580 ($1,744,700 wage
                    19
                          statement penalties + $1,371,451 waiting time penalties + $2,209,696 meal period
                    20
                          premiums + $2,209,696 rest period premiums + $779,037 attorneys fees).
                    21
                                   51.      The allegations in Plaintiff’s First Cause of Action for failure to pay
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                          minimum wage, Second Cause of Action for failure to pay overtime wages, Fifth
                    23
                          Cause of Action for unlawful deduction of wages, Eighth Cause of Action for
                    24
                          failure to provide timely and complete copies of employment records, Ninth Cause
                    25
                          of Action for violation of California’s unfair competition law, and Tenth Cause of
                    26
                          Action for PAGA civil penalties further increase the amount in controversy.
                    27

                    28
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                     1    IV.      THE OTHER PREREQUISITES FOR REMOVAL HAVE BEEN
                                   SATISFIED
                     2
                                   A.       VENUE
                     3
                                   52.      Venue lies in the Eastern District of California pursuant to 28 U.S.C.
                     4
                          § 1441(a), because this action was originally brought in the Superior Court of the
                     5
                          State of California, County of Shasta, which lies within the Eastern District of
                     6
                          California. Therefore, this is the appropriate court for removal.
                     7
                                   B.       NOTICE
                     8
                                   53.      Defendants will promptly serve this Notice of Removal on all parties
                     9
                          and will promptly file a copy of this Notice of Removal with the Superior Court of
                    10
                          the State of California, County of Shasta, as required under 28 U.S.C. § 1446(d).
                    11
                          V.       CONCLUSION
                    12
                                   54.      Based on the foregoing, Defendants respectfully request that this
                    13
                          action be removed to this Court. Defendants have sought no other relief. If any
                    14
                          question arises as to the propriety of the removal of this action, Defendants request
                    15
                          the opportunity to present a brief and oral argument in support of its position that
                    16
                          this case is removable.
                    17

                    18    Dated: May 17, 2019                                MORGAN, LEWIS & BOCKIUS LLP
                    19
                    20                                                       By /s/ Kathryn T. McGuigan
                    21                                                         Kathryn T. McGuigan
                                                                               Zachary W. Shine
                    22                                                         Nicole L. Antonopoulos
                                                                               Attorneys for Defendant
                    23                                                         Charter Communications, LLC and
                                                                               Charter Communications, Inc.
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